Case 1:03-cv-01882-SEB-JMS     Document 343   Filed 03/10/06   Page 1 of 24 PageID #:
                                      10194



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 TODD DAVIDSON, WILBERT                  )
 WIGGINS, GEORGE DOUGLAS, JR.,           )
 CHARLES MAGEE, DARON                    )
 THOMPSON, EUGENE SMITH,                 )
 GEORGE RODGERS, and KENTON              )
 SMITH, on behalf of themselves and      )
 others similarly situated,              )
                                         )
              Plaintiffs,                )
                                         )      1:03-CV-1882-SEB-JPG
       vs.                               )
                                         )
 CITIZENS GAS & COKE UTILITY,            )
                                         )
              Defendant.                 )


                    ORDER DENYING CLASS CERTIFICATION


       This matter is before the Court on Plaintiffs’ Renewed Motion for Class

 Certification. For the reasons discussed in this entry, we deny class

 certification in this case.


 I.    Background


       This case was originally filed on December 5, 2003, on behalf of eight

 African-American employees of the Defendant, Citizens Gas & Coke Utility

 (“Citizens”) who claimed they were required to take a test, known as the Work

 Competency Assessment (“WCA”), as a part of their efforts to gain promotions.



                                        -1-
Case 1:03-cv-01882-SEB-JMS     Document 343     Filed 03/10/06   Page 2 of 24 PageID #:
                                      10195



 Each Plaintiff took and failed the exam but claims in this litigation that the test

 was not a valid test, that it had a disparate impact on African-Americans in

 general and caused each of them to be treated unfairly with respect to the

 promotions they sought and, because of the test, were unable to obtain. An

 Amended Complaint, filed on June 12, 2004, added class action allegations,

 seeking to include along with the original eight Plaintiffs all other employees

 who were required to take the WCA in order to be promoted, and added

 another claim on behalf of employees who were required to take the exam in

 order to qualify to be hired. The amended class action complaint asserts

 disparate treatment and disparate impact claims under 42 U.S.C. § 1981 and

 Title VII of the Civil Rights Act, 42 U.S.C. § 2000e and proposed that the

 original eight Plaintiffs serve as class representatives.


       Since the first amended complaint was filed in the summer of 2004, this

 case has involved a protracted series of attempts by Plaintiffs’ counsel to add

 named plaintiffs through sequential amendments to the Complaint. We denied

 a prior motion for certification without examination of the merits, and allowed

 Plaintiffs to refile their motion after completing additional discovery, including

 conducting a full review of the terms of a settlement that had previously been

 reached between Citizens and the Equal Employment Opportunity Commission

 on behalf of a group of African-American job applicants who had taken the test

 in hopes of obtaining employment. There are presently before the Court ten


                                          -2-
Case 1:03-cv-01882-SEB-JMS     Document 343     Filed 03/10/06   Page 3 of 24 PageID #:
                                      10196



 named Plaintiffs, which group includes both current employees who took the

 WCA for purposes of promotion or transfer and unsuccessful applicants who

 took the exam in hopes of landing a job with the company.


       In addition, we have previously entered a partial summary judgment in

 Defendant’s favor regarding certain disparate impact claims brought under 42

 U.S.C. § 1981. What remains are claims of disparate impact and disparate

 treatment under Title VII of the Civil Rights Act, 42 U.S.C. § 2000e and

 disparate treatment under 42 U.S.C. § 1981.


       Three separate threshold WCA scores factored into the determinations of

 whether a test-taker qualified for an open supervisory, customer relations or

 other position. Plaintiffs seek certification of a class defined according to these

 categories, as follows:

       All African-American individuals negatively affected by Citizens’
       use of the WCA, as defined by the following sub-classes:

              a. All African-American employees and applicants who
              took and did not pass with a score of 542 or higher on
              Defendant Citizens Gas’ Work Competency
              Assessment test.

              b. All African-American employees and applicants who
              took and did not score 570 or higher on Defendant
              Citizens Gas’ Work Competency Assessment.

              c. All African-American employees and applicants who
              took and did not score 595 or higher on Defendant
              Citizens Gas’ Work Competency Assessment test.




                                         -3-
Case 1:03-cv-01882-SEB-JMS         Document 343       Filed 03/10/06     Page 4 of 24 PageID #:
                                          10197



        In the alternative, Plaintiffs propose these same sub-class definitions but

 with a time limitations period between July 1, 2000 until the date when

 Defendant stopped using the WCA in 2004. The three sub-classes differentiate

 among the three scores required to qualify, first, for supervisory (595), second,

 for customer relations (570) and third, for other (542) positions. If Plaintiffs’

 analysis and tabulations are correct, the largest of the three sub-classes (those

 who did not achieve a score of 595 or better) contains more than 1600

 members and the smallest contains more than 1100 members; (stated

 otherwise, fewer candidates achieved the highest scores.)


        As previously alluded to, this litigation has proceeded in fits and starts

 over an extended period of time and for a variety of reasons, including

 Plaintiffs’ counsel’s dilatoriness and lack of careful management of the

 discovery process.1 Disputes have arisen between the parties with frustrating

 regularity at virtually every step of the way, often involving needlessly petty

 conflicts, such as opposing each other’s requests to increase briefing page

 limits. Perhaps the court, having wearied of these spats and reluctant to

 expend scarce judicial resources to provide weekly supervision of the parties’

 unseemly efforts to outdo each other, tolerated for too long Plaintiffs’ counsel’s

 faltering attempts to shape and re-shape the issues of her case and refine the



        1
         In September of 2005 Plaintiffs’ counsel was sanctioned for employing a self-help
 discovery tactic while her motions seeking similar relief were pending before the court.

                                               -4-
Case 1:03-cv-01882-SEB-JMS     Document 343    Filed 03/10/06   Page 5 of 24 PageID #:
                                      10198



 class allegations. In any event, we have reached a point where we cannot allow

 the flow of ink to continue unstaunched, and so we turn once more - hopefully

 for the final time - to the issue of whether this matter should proceed as a class

 action.


 II.   Certification Requirements


       Plaintiffs move for class certification pursuant to Fed.R.Civ.P. 23(b)(3).

 To achieve class certification they must establish that the requirements of

 Fed.R.Civ.P. 23(a) have been met and then demonstrate that “the questions of

 law or fact common to the members of the class predominate over any

 questions affecting only individual members, and that a class action is superior

 to other available methods for the fair and efficient adjudication of the

 controversy.” Fed.R.Civ.P. 23(b)(3). The requirements of Rule 23(a)

 certification are the well known: 1)numerosity, 2)commonality, 3)typicality, and

 4) adequacy. Fed.R.Civ.P. 23(a). The factors pertinent to a determination of

 whether common issues predominate making a class action the superior

 method of proceeding to resolution include: A) the interest of members of the

 class in individually controlling the prosecution or defense of separate actions;

 B) the extent and nature of any litigation concerning the controversy already

 commenced by or against members of the class; C) the desirability or

 undesirability of concentrating the litigation of the claims in the particular




                                         -5-
Case 1:03-cv-01882-SEB-JMS      Document 343     Filed 03/10/06   Page 6 of 24 PageID #:
                                       10199



 forum; and D) the difficulties likely to be encountered in the management of a

 class action. Fed.R.Civ.P. 23(b)(3).


 III.   Analysis


        Citizens challenges Plaintiffs’ satisfaction of each of the 23(a)

 prerequisites, in addition to maintaining that questions common to all potential

 class members do not predominate and that a class action is not a superior

 method of litigating the dispute under 23(b). As with other class actions, a

 Title VII class action may only be certified after a rigorous examination of

 whether the requirements of Rule 23 have been met. General Telephone Co. Of

 Southwest v. Falcon, 457 U.S. 147, 161 (1982). In reaching our decision,

 recognizing that Citizens has challenged Plaintiffs’ 23(a) showings as to the

 prerequisites of numerosity, commonality and typicality, we choose to focus

 our analysis on the most compelling deficiency under 23(a), that is, adequacy,

 and assume, without deciding, for purposes of this ruling that the three other

 prerequisites have been satisfied.


        The fourth prerequisite listed under Rule 23(a) (“adequacy”) requires a

 showing that the representative parties will fairly and adequately protect the

 interests of the class. Fed.R.Civ.P. 23(a)(4). Because the rights of absent class

 members may be preclusively affected by the action at bar, adequacy of

 representation is an important linchpin in securing class certification. It has in


                                          -6-
Case 1:03-cv-01882-SEB-JMS     Document 343     Filed 03/10/06   Page 7 of 24 PageID #:
                                      10200



 fact been characterized by some court decisions as the most important of the

 Rule 23(a) prerequisites. Harris v. Pan American World Airways, Inc., 74 F.R.D.

 24, 42 (N.D.Cal. 1977)(citing Hansberry v. Lee, 311 U.S. 32 (1940)). Even in

 cases where the named parties stipulate that a class action would be

 appropriate, appellate courts require district courts to explore the adequacy of

 representation to assure that the rights of absentee litigants will not being

 compromised. See, e.g., Smith v. Sprint Communications Co., L.P., 387 F.3d 612

 (7th Cir. 2004).


       In conducting this assessment of the adequacy of the named Plaintiffs to

 represent an entire class, we examine their capabilities, diligence and potential

 conflicts, as well as those of their legal counsel. Secretary of Labor v.

 Fitzsimmons, 805 F.2d 682, 697 (7th Cir. 1986). In the case at bar, we have

 necessarily concluded that there are severe shortcomings with respect both to

 the named representative litigants and to their counsel in terms of their

 adequacy, which warrant rejection of their request for certification.


       Consider, for example, the two most recent additions to this action as

 named plaintiffs. Prior to the time Jimothy Amos and Sidney Williams were

 added to this lawsuit, the named Plaintiffs were all African-American

 employees of Citizens who had taken the WCA in an effort to transfer out of

 Citizens’ Manufacturing Division to another division at Citizens. Even though

 the class initially described in the complaint included job applicants, Amos and

                                         -7-
Case 1:03-cv-01882-SEB-JMS          Document 343         Filed 03/10/06     Page 8 of 24 PageID #:
                                           10201



 Williams were the first job applicants to appear as named plaintiffs. So the

 class as originally constituted did not have any representatives who satisfied

 the proposed definition until the belated additions of Amos and Williams.

 Without applicants being included as members of the proposed class, the

 numerosity prerequisite was problematic for Plaintiffs because Plaintiffs have

 been able to identify at most only 50 African-American employees who took the

 test and failed to obtain the score of 542 necessary to qualify to transfer

 between divisions.2 Citizens has made a strong argument that there are

 actually fewer than 50. It seems clear that Plaintiffs’ delay in moving their case

 forward to the class certification stage was the result of their tactical decision

 to secure additional time to round up two more named plaintiffs to represent

 applicants, and in so doing to substantially increase the number of potential

 class members overall and, perhaps not entirely coincidently, to increase the

 potential for attorney fees as well.3




        2
         We decline at this juncture to sort out the issues regarding the applicable periods of time
 during which claims may be pursued, based on the statute of limitations and the timing
 requirements for any EEOC filing.
        3
          In September of 2005, Mr. Amos was added as a named plaintiff and withdrew as
 plaintiff in an independent action (1:05-cv-468-JDT-WTL) pending before another judge of this
 court. Mr. Williams, who had been added as a plaintiff to that same independent action, was
 also added to this case as a named plaintiff shortly after Amos was added. In October, we
 granted Plaintiffs’ request to allow the filing of a Third Amended Complaint. The other,
 independent action has since been dismissed in its entirety due to the shift of Amos and Williams
 to be named plaintiffs in this matter.

                                                 -8-
Case 1:03-cv-01882-SEB-JMS          Document 343        Filed 03/10/06      Page 9 of 24 PageID #:
                                           10202



        Both Amos and Williams testified at deposition that they have previously

 been convicted of felonies. Williams admits to four felony convictions,

 including three theft convictions. On his application for employment with

 Citizens, Williams answered affirmatively the question of whether he had been

 previously convicted of a felony, but gave no details other than to indicate that

 he would provide more information in an interview. Amos denied having any

 felony convictions in his application. When asked about that answer on his

 application during his first deposition, Amos still did not admit that his

 application answer was incorrect. However, in a second deposition, he did

 finally admit to having been convicted of a felony burglary and a DUI offense in

 Mississippi. Citizens has submitted evidence to indicate that Amos in fact has

 additional convictions, to the ones he has admitted, including a felony

 conviction for theft of a vehicle.4


        The felony convictions of Amos and Williams are relevant to our

 consideration of class representation issues for two reasons. First, personal




        4
          In their reply brief, Plaintiffs moved to strike a number of pages of the criminal records
 of Mr. Amos and the bankruptcy court records from Mr. Williams’ bankruptcy, as submitted by
 Citizens, because they were not previously produced in discovery or properly authenticated. We
 find no basis to strike these documents. Plaintiffs can not claim surprise with regard to the
 contents of the documents nor did Plaintiffs make a sufficiently specific document request to
 require the production of these materials. As to the authentication challenge, Citizens points out
 that both the criminal records (Docket # 320 Attachment #1, Appendix BB part-1 pg 2 of 47) and
 the bankruptcy court records (Docket # 320 Attachment#1, Appendix DD pg 5 of 31) were
 submitted with appropriate certification sheets, which Plaintiffs apparently missed in their
 review.

                                                 -9-
Case 1:03-cv-01882-SEB-JMS         Document 343 Filed 03/10/06            Page 10 of 24 PageID
                                        #: 10203



 characteristics, such as the credibility and integrity of a putative class

 representative, have a direct bearing on their ability to adequately represent

 absent members of the class. London v. Wal-Mart Stores, Inc., 340 F.3d 1246,

 1254 (11th Cir. 2003); Kline v. Wolf, 702 F.2d 400, 403 (2nd Cir. 1983)

 (upholding district court’s finding that potential class representative’s admitted

 false statements left their credibility open to serious attack). “Problems of

 credibility, when sufficiently serious, can prevent a named plaintiff from being

 certified as a class representative.” Weikel v. Tower Semiconductor Ltd., 183

 F.R.D. 377, 397 (D.N.J. 1998). While we acknowledge that functionally the

 plaintiffs’ attorney is most often the true driving force behind the

 representation of the class, the named representatives are still required to be

 more than window dressing or puppets for class counsel.5 Kirkpatrick v. J.C.

 Bradford & Co., 827 F.2d 718, 727 (11th Cir. 1987). A putative class

 representative’s lack of credibility should not be allowed to significantly detract

 from the case. In re Frontier Ins. Group, Inc. Securities Litigation, 172 F.R.D. 31,

 47 (E.D.N.Y. 1997). A representative must, at the very least, be trustworthy

 enough to protect the interests of the class by working to pursue a remedy

 which benefits the class as much as it does counsel. Kirkpatrick, 827 F.2d at

 727. This trustworthiness is especially necessary in a situation such as the


        5
         It should be noted that in deposition Mr. Amos displayed near total ignorance regarding
 this lawsuit, his role in it or even the reason he was being deposed, admitting that he was
 recruited by counsel and had signed an affidavit prepared by counsel which contained statements
 he knew to be untrue when he signed it.

                                              -10-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06      Page 11 of 24 PageID
                                    #: 10204



 case at bar where Williams and Amos were eleventh-hour additions as

 plaintiffs, brought in to represent job applicants who as a group would more

 likely possess less knowledge of the circumstances surrounding the lawsuit

 then potential class members who are current Citizens employees.


       The second reason the records of felony convictions by Amos and

 Williams are relevant is that the convictions themselves would have barred

 their consideration for employment with Citizens, regardless of their test

 scores. Though a single felony conviction does not necessarily disqualify a

 prospective Citizens employee from being hired, there is uncontested testimony

 from Citizens’ Human Resources Employment Supervisor that the company

 screens for criminal convictions and, to the company’s knowledge, there has

 never been an individual with three or more known felony convictions brought

 on as an employee at Citizens. Further, Citizens’ practice is to conduct a

 criminal history search on all persons who are offered jobs and, if it is

 determined that the potential hiree has lied about his criminal record or any

 other part of his employment application, the employment offer is withdrawn.

 Even if it remains undecided whether Amos and Williams would have been

 hired by Citizens – which we seriously doubt – it is likely that their criminal

 histories would become the focus of their failure to hire claims, as opposed to

 the common question which allegedly binds together other putative plaintiffs,

 namely, the WCA test results.


                                        -11-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06      Page 12 of 24 PageID
                                    #: 10205



        Amos has multiple felony convictions and lied about them on his

 application. Williams has multiple felony convictions as well and also filed for

 bankruptcy after applying for employment at Citizens. The filing of bankruptcy

 does not cancel out or otherwise prevent Williams’s claim of discrimination, but

 his claim, assuming its legitimacy, should have been listed as an asset and

 would have thus become the property of the bankruptcy estate. While the

 failure to list the claim would not trump his discrimination claim either, if he

 goes forward with it, the estate would have to be reopened and the bankruptcy

 trustee would become the appropriate party to pursue the claim, and Seventh

 Circuit precedent makes clear that the trustee of a bankruptcy estate, who has

 obligations to all unsecured creditors, is not a fair or adequate class

 representative. Dechert v. Cadle, 333 F.3d 801 (7th Cir. 2003).


       Thus, Amos and Williams simply are not appropriate class

 representatives. As for the other eight named Plaintiffs, all of whom are

 Citizens employees who took the WCA to qualify for transfers or promotions,

 their discrimination claims may also implicate issues of seniority, collective

 bargaining contract interpretation, attendance records, and disciplinary

 records, any one or more of which factors would differentiate them from other

 applicant class members. Further, we are informed that none of the eight

 representative employees has executed releases, as the more than fifty

 applicants did who accepted the settlement previously brokered by the EEOC


                                        -12-
Case 1:03-cv-01882-SEB-JMS      Document 343 Filed 03/10/06        Page 13 of 24 PageID
                                     #: 10206



 with Citizens. Thus, the persons being proffered as representatives for both

 subsets of the class-plaintiffs are problematic to say the least. But it is not

 only their deficiencies that makes “adequacy of representation” a losing

 proposition for Plaintiffs.


       We concur in Citizens’ view that counsel for Plaintiffs has demonstrated

 a lack of diligence and case management skills thereby casting doubt on her

 ability to properly pursue the class action proposed here. Though the names of

 several lawyers from Plaintiffs’ counsel’s firm have also entered appearances on

 behalf of Plaintiffs in this litigation, the lead responsibilities have clearly been

 shouldered by a single attorney. The docket reveals as to her performance a

 persistent pattern of ineffective representation and whether that has occurred

 as a result of a shortage of professional and support staff assistance or because

 of simple procrastination, we note by way of understatement that the case has

 not proceeded smoothly and mistakes of all sorts have marred its progress.

 The court’s electronic docket report for this case is virtually indecipherable and

 the pace of this litigation is running substantially behind where it should be in

 terms of moving towards a final resolution. We discuss below the most

 significant deficiencies in Plaintiffs’ counsel’s supervision of this matter.


       Lack of Timely Pursuit of Class Certification: Candor requires that

 the court accept a certain amount of the blame for the most recent delays,

 because we required that the class certification motion be refiled following

                                          -13-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06       Page 14 of 24 PageID
                                    #: 10207



 completion of additional discovery. However, the additional discovery,

 consisting of efforts that should have been completed earlier, was either

 requested by Plaintiffs, or was necessary due to Plaintiffs‘ counsel’s late

 additions to the roster of named plaintiffs. More importantly, Plaintiffs and

 their counsel did not seek class certification until a year after the case had

 been filed, which was six months after the class action allegations were first

 included in a version of their many amended complaints. The promptness and

 efficiency with which class certification is pursued is an indicator of the

 adequacy of the representation that absent class members will receive. East

 Texas Motor Freight System Inc. V. Rodriguez, 431 U.S. 395, 405 (1977).

 Promptness in this case has been in very short supply.


       Lack of Diligence and Delay: Our review of the docket reveals a total of

 23 separate instances when Plaintiffs’ counsel sought either extensions of filing

 deadlines and trial dates or permission to submit omitted or improperly

 submitted briefs and supporting materials. See Docket #’s 22, 35, 49, 60, 63,

 70, 85, 136, 174, 178, 180, 182, 199, 208, 210, 211, 247, 249, 277, 282, 300,

 302, 305. We do not include in this tabulation the several amended

 complaints or multiple versions of witness lists filed on behalf of Plaintiffs. In

 almost every instance, the court allowed Plaintiffs’ counsel the opportunity she

 sought to correct prior filing mistakes, to file materials belatedly or supplement

 previously filed supporting materials. Our patient indulgence did not prevent


                                         -14-
Case 1:03-cv-01882-SEB-JMS      Document 343 Filed 03/10/06       Page 15 of 24 PageID
                                     #: 10208



 further delay and additional mistakes; they seemed to continue unabated.

 Recently, because the record has become so confused and clogged with

 Plaintiffs’ multiple, incomplete and amended filings, the Magistrate Judge

 requested that Plaintiffs’ counsel sort out the confusion by filing a written

 clarification noting which exhibits and supporting materials were complete

 and could be referenced by the parties and the court in ruling on this or other

 pending motions.


       In response to Citizens’ assertion that these numerous examples of

 tardiness and delay and errors are a basis for the Court’s concluding that the

 class would not be adequately represented, Plaintiffs offered no defense,

 choosing instead to try to shift the blame to defense counsel by arguing that

 the defense, too, has been guilty of filing mistakes, of seeking extensions of

 time and of violating local rules. Plaintiffs’ response (even if true) is beside the

 point, because counsel for defense is not seeking to represent a large number

 of absent parties. Pointing a finger at defense counsel does not lessen the fact

 that Plaintiffs’ counsel has litigated this matter in a fashion which falls far

 short of what a group of absent plaintiffs should be able to expect of someone

 charged with the responsibility of protecting their rights and diligently

 pursuing their claims. Ratcheting up the number of claimants involved in a

 lawsuit may have strategic advantages, but with that increase comes a higher

 level of responsibility on the part of the attorney who seeks the assignment and


                                         -15-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06      Page 16 of 24 PageID
                                    #: 10209



 the opportunity to faithfully represent many clients who are necessarily absent

 from direct participation in the litigation process. Because, practically

 speaking, it is class counsel who prosecutes the case, it is entirely appropriate,

 if not mandatory, for a court to assess the adequacy of counsel’s representation

 and in doing so is entitled to draw on observations of counsel’s performance in

 the very litigation at issue. See Culver v. City of Milwaukee, 277 F.3d 908 (7th

 Cir. 2002). “For purposes of determining whether the class representative is an

 adequate representative of the members of the class, the performance of the

 class lawyer is inseparable from that of the class representative.” Id. at 913.


       Identification and selection of class representatives: Courts

 recognize that class counsel necessarily is faced with meeting the immediate

 strategic demands of prosecuting a class claim, much more so than the named

 plaintiffs, including the challenge of finding individual plaintiffs who might not

 otherwise have been available to serve as named parties. Despite wide

 discretion and broad responsibility, potential class counsel does not operate

 without limits in constructing a viable class action. As our colleague, district

 court Judge Zagel, observed in denying another class certification request, “[I]f

 we recognize that counsel have a lot to do with assembling the elements of a

 class action law suit, including finding plaintiffs, then class counsel ought to

 do a good job of it.” Williams v. Balcor Pension Investors, 150 F.R.D. 109, 119

 (N.D.Ill. 1993).


                                        -16-
Case 1:03-cv-01882-SEB-JMS           Document 343 Filed 03/10/06             Page 17 of 24 PageID
                                          #: 10210



        As noted previously, this case was not originally filed as a class action.

 Plaintiffs’ counsel sought that status by filing a series of amended complaints

 and by adding and deleting individual plaintiffs, such as Mr. Amos and Mr.

 Williams, to serve as class representatives, thus expanding the scope of this

 lawsuit and in the process buttressing the required showing of numerosity.

 Those efforts by Plaintiffs’ counsel, frankly, have not panned out very well. As

 previously discussed, Amos and Williams turned out to be (at best)

 questionable class representatives due to their felony criminal records and the

 reduced credibility those criminal records would produce, including the near

 certainty that, because of those criminal histories, neither man would have

 been hired irrespective of their test scores. Williams’s bankruptcy also

 prevents him from serving as a class representative apart from his criminal

 history.6 Furthermore, more than fifty applicants who presumably would

 qualify as plaintiffs signed releases in accepting the EEOC facilitated

 settlement and who, on that basis, have interests which are not aligned with

 Amos, Williams, or any of the other named Plaintiffs who have not executed

 any such releases.




        6
          We realize that there is the possibility that if Williams’s bankruptcy estate were
 reopened, the trustee might elect to abandon the claim, in which case Williams could technically
 qualify to serve as class representative. However, that process would be time consuming and
 would not ameliorate the credibility issues or the disability to his being hired regardless of test
 score based on his criminal history.

                                                -17-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06       Page 18 of 24 PageID
                                    #: 10211



       Counsel’s apparent eagerness to enlist Amos and Williams to serve as

 class representatives in an effort to expand her case into a certifiable class

 action resulted in a series of hasty, ill-advised actions on her part. For

 example, rather than taking the time to consult with Mr. Amos and review the

 important documents with him such as his affidavit and his EEOC charge, we

 surmise that counsel simply mailed these forms to Mr. Amos with instructions

 to sign them which he did, with his wife’s assistance, after filling in the blanks

 of the EEOC charge. The result was that Mr. Amos likely perjured himself.


       Counsel’s demonstrated deficiencies in performance coupled with the

 fact that none of the putative class representatives adequately represents job

 applicants, which is by far the largest segment of the proposed class, leaves us

 with the firm conclusion that Plaintiffs have failed to establish that they are

 capable of serving as adequate representatives of the class, which is a

 prerequisite to certification under Fed.R.Civ.P. 23(a).


       Failure to establish any of the four prerequisites to certification under

 Fed.R.Civ.P. 23(a) bars the case from going forward as a class action. A failure

 to establish adequacy of representation also undermines Plaintiffs’ ability to

 establish the requirements of Fed.R.Civ.P. 23(b)(3), because issues common to

 the class do not predominate over individual issues and a class action has not

 been shown to be the superior method of resolving the controversy.




                                        -18-
Case 1:03-cv-01882-SEB-JMS          Document 343 Filed 03/10/06             Page 19 of 24 PageID
                                         #: 10212



        Plaintiffs have structured this case as both a disparate impact and a

 disparate treatment case. As a remedy, they seek to have Plaintiffs placed in

 the job positions and at the seniority levels they “would have enjoyed” but for

 the alleged unlawful discrimination. There is no commonality among these

 issues which would make a class action appropriate as a means to resolve

 these disputes.7 Indeed, the contrary is true.


        Plaintiffs claim that at some point it became known to Citizens, or was so

 obvious that Citizens should have known, that African-Americans were being

 negatively impacted by the requirement that a certain score be obtained on the

 WCA. According to Plaintiffs, Citizens’s continued use of the WCA in the face of

 its discriminatory impact amounted to intentional disparate treatment of those

 African-Americans who were required to take it. We take no position on the

 merits of this claim or whether there is evidence to support it; what is

 immediately apparent, however, is that the class and sub-classes have not

 been defined in a manner which takes these differences into account. Some

 employees and applicants have disparate treatment claims under Title VII,

 which opens up the possibility of their obtaining compensatory and punitive



        7
          Plaintiffs also allege that on occasion African-Americans were not allowed to take the
 test, which they contend was a discriminatory act as well committed by Citizens. Though
 Plaintiffs have not fleshed out this contention, it would not in any event advance their claims
 with respect to the commonality, typicality or predominance issues. Plaintiffs who claim
 discrimination based on not having been allowed to take the test at some point are materially
 distinguishable from the other categories of plaintiffs in this action.

                                               -19-
Case 1:03-cv-01882-SEB-JMS            Document 343 Filed 03/10/06             Page 20 of 24 PageID
                                           #: 10213



 damages; other employees and applicants will assert disparate impact claims,

 but thus would not in all likelihood be able to establish intentional

 discrimination.8


        Whether applicants would have obtained employment without the testing

 would likely necessitate significant factual inquiries into the individual job

 requirements. In addition, the proposed class definitions do not differentiate

 between those applicant class members who executed releases in connection

 with the EEOC facilitated settlement and those that did not. The scope of each

 release and the settlement achieved thereby and its effect on the remaining

 individual claims, if any, are important differences among the Plaintiffs.


        We anticipate that, because the employees who took the test for purposes

 of transfer or promotion were in competition with other employees who sought

 the same positions, including other African-Americans, a careful examination

 of a variety of person-specific variables would be required, such as a

 comparison of each applicant’s seniority, past performance and job skills. A

 plaintiff who otherwise might seem to be a “shoe-in” for a particular transfer or

 promotion but failed the test by one point also would have a much greater



        8
          Plaintiffs broadly allege in their complaint that “[D]efendants unlawful actions were
 willful, intentional, and done with reckless disregard of Plaintiffs’ rights.” Beyond that broad
 allegation, Plaintiffs never assert that the discrimination caused by the test was intentional on the
 part of Citizens, only that after it became apparent, continued reliance on the testing process
 made the discrimination intentional. We offer no judgment as to the merit of this theory.

                                                 -20-
Case 1:03-cv-01882-SEB-JMS     Document 343 Filed 03/10/06      Page 21 of 24 PageID
                                    #: 10214



 interest in emphasizing his own circumstances and therefore in directing the

 prosecution of his claim than would a person who had applied for any available

 job simply in an effort to get out of the Manufacturing Division but failed to

 make the cut, in terms of his test scores. “Individual rather than class

 litigation is the best way to resolve person-specific contentions when the stakes

 are large enough to justify individual suits.” Frahm v. Equitable Life Assur. Soc.

 of U.S., 137 F.3d 955, 957 (7th Cir. 1998). Transfer or promotion cases

 typically include even more person-specific issues than job applicant claims.


       The requirement of 23(b)(3) that common issues predominate parallels

 the commonality factor under 23(a)(2), but is generally regarded as much more

 demanding. Amchem Products, Inc. V. Windsor, 521 U.S. 591, 623-624 (1997).

 In order to satisfy the common-issues-predominating requirement, issues that

 are subject to generalized proof must predominate over issues requiring

 individualized proof. Kerr v. City of West Palm Beach, 875 F.2d 1546, 1557-

 1558 (11th Cir. 1989). Proof that the WCA had a discriminatory impact on

 every African-American class member does not suffice to establish that

 common issues predominate. The predominance and superiority requirements

 translate into the economy and efficiency that a class certification must bring

 to the litigation. 2 Alba Conte & Herbert B. Newberg, Newberg on Class Actions

 § 4:24 (4th ed. 2002). If resolution of a common issue requires the court to

 resolve a variety of individualized issues, any efficiency that might be gained in


                                        -21-
Case 1:03-cv-01882-SEB-JMS       Document 343 Filed 03/10/06    Page 22 of 24 PageID
                                      #: 10215



 a class action disappears, and the lawsuit becomes even more difficult to

 manage. The circumstances and issues in this case portend such

 complications, if a class is certified.


 IV.   Conclusion


       The named Plaintiffs in this matter have asserted that they and others

 were victims of discrimination perpetrated on them by Citizens because of the

 testing device Citizens utilized in making hiring and promotion decisions.

 Some of the named Plaintiffs may necessarily claim that the discrimination was

 intentional and others will necessarily assert claims which are based on an

 adverse impact theory. Obviously, therefore, the class would consist of at least

 those two categories. The two recently added named Plaintiffs (Amos and

 Williams) are not adequate representatives of the applicant class for the

 reasons previously discussed, and without them there is no other applicant

 member to serve as class representative. In addition, we have serious concerns

 regarding the adequacy of Plaintiffs’ counsel to manage this litigation based on

 her past lapses in diligence and supervision of plaintiffs’ case, displaying

 patterns of performance which fall far short of what absentee class members

 are entitled to expect and receive from class counsel. While there are some

 common issues among the claimants, it is patently clear that they do not

 predominate, especially with regard to employees who took the WCA seeking

 transfers or promotions. Finally, because of their individual unique

                                           -22-
Case 1:03-cv-01882-SEB-JMS    Document 343 Filed 03/10/06         Page 23 of 24 PageID
                                   #: 10216



 circumstances, we would reasonably anticipate that many of the plaintiff class

 members would have a significant interest in directing the prosecution of their

 own claims. For all these reasons, Plaintiffs’ Renewed Motion for Class

 Certification (Docket # 286) must be and is hereby DENIED.


       IT IS SO ORDERED this ____ day of March 2006.
                         03/10/2006



                                                  _______________________________
                                                   SARAH EVANS BARKER, JUDGE
                                                   United States District Court
                                                   Southern District of Indiana




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                                       -23-
Case 1:03-cv-01882-SEB-JMS   Document 343 Filed 03/10/06   Page 24 of 24 PageID
                                  #: 10217



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                                     -24-
